     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 1 of 28


 1   MICHAEL J. HADDAD (State Bar No. 189114)
     JULIA SHERWIN (State Bar No. 189268)
 2   GENEVIEVE K. GUERTIN (State Bar No. 262479)
     T. KENNEDY HELM (State Bar No. 282319)
 3   HADDAD & SHERWIN
 4   505 Seventeenth Street
     Oakland, California 94612
 5   Telephone: (510) 452-5500
     Facsimile:   (510) 452-5510
 6
     Attorneys for Plaintiffs
 7   Lisa Moore and Eugene Moore
 8
                               UNITED STATES DISTRICT COURT
 9

10                           EASTERN DISTRICT OF CALIFORNIA

11
     LISA MOORE and EUGENE MOORE,            )
12   Individually and as Co-                 )    Case No. 2:14-cv-00656-JAM-KJN
     Successors in Interest of               )
13   Decedent JEREMIAH EUGENE                )    Hon. John A. Mendez
                                             )
     MOORE,                                  )
14                                                FIRST AMENDED COMPLAINT FOR
                                             )    DAMAGES, DECLARATORY, AND
15                Plaintiffs,                )
     vs.                                     )    INJUNCTIVE RELIEF, AND DEMAND
                                             )    FOR JURY TRIAL
16
     CITY OF VALLEJO, a public               )
17   entity; CITY OF VALLEJO                 )
                                             )
     POLICE CHIEF JOSEPH KREINS,             )
18   in his individual and                   )
19   official capacities; OFFICER            )
     SEAN KENNEY, individually;              )
20   and DOES 1-20, individually,            )
     jointly and severally,                  )
21                                           )
                  Defendants.                )
22                                           )
                                             )
23                                           )
                                             )
24                                           )

25

26

27

28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 2 of 28


 1         Plaintiffs, by and through their attorneys, HADDAD & SHERWIN,

 2   for their First Amended Complaint against Defendants, state as
 3   follows:
 4
                                         JURISDICTION
 5
           1.     This is a civil rights, wrongful death, and survival
 6
     action arising from Defendants’ wrongful shooting, use of
 7

 8   excessive force and recklessly provocative tactics, resulting in

 9   the death of Jeremiah Eugene Moore, Deceased, on or about October

10   21, 2012, in the City of Vallejo, County of Solano, California.
11   This action is brought pursuant to 42 USC §§ 1983 and 1988; Title
12
     II of the Americans with Disabilities Act (“ADA”); 42 U.S.C. §
13
     12132 et seq.; § 504 of the Rehabilitation Act (“RA”); 29 U.S.C.
14
     §§ 794 and 794a et seq.; 42 U.S.C. §§ 2000d-7 and 12202; and the
15
     First, Fourth, and Fourteenth Amendments to the United States
16

17   Constitution, as well as the laws and Constitution of the State of

18   California, including but not limited to California Civil Code §§

19   52.1, 51.7, and 52, and California common law.                   Jurisdiction is
20   founded upon 28 USC §§ 1331 and 1343(a)(3) and (4), and the
21
     aforementioned statutory and constitutional provisions.
22
     Plaintiffs further invoke the supplemental jurisdiction of this
23
     Court pursuant to 28 USC §1367 to hear and decide claims arising
24
     under state law.
25

26

27

28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND                 1
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 3 of 28


 1                               INTRADISTRICT ASSIGNMENT

 2         2.      A substantial part of the events and/or omissions
 3   complained of herein occurred in the City of Vallejo, Solano
 4
     County, California, and this action is properly assigned to the
 5
     Sacramento Division of the United States District Court for the
 6
     Eastern District of California.
 7
                                   PARTIES AND PROCEDURE
 8

 9         3.      Plaintiff LISA MOORE is the mother of decedent,

10   JEREMIAH EUGENE MOORE, and a resident of the State of California.
11   Plaintiff LISA MOORE brings these claims individually for wrongful
12
     death and violation of her personal rights, and as co-successor in
13
     interest for JEREMIAH MOORE, Deceased, for violation of Decedent’s
14
     rights.
15
           4.     Plaintiff EUGENE MOORE is the father of Decedent
16

17   JEREMIAH EUGENE MOORE and a resident of the State of California.

18   Plaintiff EUGENE MOORE brings these claims individually for

19   wrongful death and violation of his personal rights, and as co-
20   successor in interest for JEREMIAH MOORE, Deceased, for violation
21
     of Decedent’s rights.
22
           5.     Plaintiffs bring these claims pursuant to California
23
     Code of Civil Procedure §§ 377.20 et seq. and 377.60 et seq.,
24
     California’s comprehensive survival statutes, which provide for
25

26   survival and wrongful death actions.              Plaintiffs also bring their

27   claims individually and on behalf of Decedent JEREMIAH MOORE on
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND            2
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 4 of 28


 1   the basis of 42 USC §§ 1983 and 1988, the United States

 2   Constitution, and federal civil rights law.                Plaintiffs also bring
 3   these claims as Private Attorneys General, to vindicate not only
 4
     their rights, but others’ civil rights of great importance.
 5
           6.     Defendant CITY OF VALLEJO is a public entity established
 6
     by the laws and Constitution of the State of California, and owns,
 7

 8   operates, manages, directs, and controls the VALLEJO POLICE

 9   DEPARTMENT (“VPD”) which employs other defendants in this action.

10         7.     Defendant Chief of Police JOSEPH KREINS (“KREINS”) at
11   all material times was employed as Chief of Police by Defendant
12
     CITY OF VALLEJO, and was acting within the course and scope of
13
     that employment.       As Chief of Police, Defendant KREINS was a
14
     policy-making official for Defendant CITY OF VALLEJO with the
15
     power to make official and final policy for the VPD.               Defendant
16

17   KREINS is being sued in his individual and official capacities.

18         8.     Defendant Police Officer SEAN KENNEY (“KENNEY”) at all

19   material times was employed as a law enforcement officer by
20   Defendant City of Vallejo, and was acting within the course and
21
     scope of that employment.          Defendant Kenney is being sued in his
22
     individual capacity.
23
           9.     Despite Plaintiffs' multiple requests for records,
24
     Defendants have not provided Plaintiffs with information
25

26   concerning this shooting, including the names of the involved

27   police officers, any police reports, records of any investigation,
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND              3
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 5 of 28


 1   or recordings of this incident.            As a result, the true names and

 2   capacities of Defendants sued herein as DOES 1-20 (“DOE
 3   defendants”) are unknown to Plaintiffs, who therefore sue said
 4
     Defendants by such fictitious names, and Plaintiffs will seek
 5
     leave to amend this complaint to show their true names and
 6
     capacities when the same are ascertained.                Each DOE defendant was
 7

 8   an employee/agent of the City of VALLEJO and the VPD, and at all

 9   material times acted within the course and scope of that

10   relationship.
11         10.    Plaintiffs are informed and believe and thereon allege
12
     that each of the Defendants sued herein was negligently,
13
     wrongfully, and otherwise responsible in some manner for the
14
     events and happenings as hereinafter described, and proximately
15
     caused injuries and damages to Plaintiffs.                Further, one or more
16

17   DOE defendants was at all material times responsible for the

18   hiring, training, supervision, and discipline of other defendants,

19   including DOE Defendants.
20         11.    Plaintiffs are informed and believe, and thereon allege,
21
     that each of the Defendants was at all material times an agent,
22
     servant, employee, partner, joint venturer, co-conspirator, and/or
23
     alter ego of the remaining Defendants, and in doing the things
24
     herein alleged, was acting within the course and scope of that
25

26   relationship.      Plaintiffs are further informed and believe, and

27   thereon allege, that each of the Defendants herein gave consent,
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND              4
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 6 of 28


 1   aid, and assistance to each of the remaining Defendants, and

 2   ratified and/or authorized the acts or omissions of each Defendant
 3   as alleged herein, except as may be hereinafter otherwise
 4
     specifically alleged.
 5
             12.   At all material times, each Defendant was jointly
 6
     engaged in tortious activity, and was an integral participant to
 7

 8   the events and violations of rights described herein, resulting in

 9   the deprivation of Plaintiffs’ constitutional rights and other

10   harm.
11           13.   The acts and omissions of all Defendants as set forth
12
     herein were at all material times pursuant to the actual customs,
13
     policies, practices and procedures of the VPD.
14
             14.   At all material times, each Defendant acted under color
15
     of the laws, statutes, ordinances, and regulations of the State of
16

17   California.

18           15.   Each Plaintiff herein timely and properly filed tort

19   claims pursuant to Cal. Gov. Code § 910 et seq., and this action
20   is timely filed within all applicable statutes of limitation.
21
             16.   This complaint may be pled in the alternative pursuant
22
     to Federal Rule of Civil Procedure 8(d)(2).
23

24
                                     GENERAL ALLEGATIONS
25

26           17.   Plaintiffs reallege each and every paragraph in this

27   complaint as if fully set forth here.

28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND       5
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 7 of 28


 1         18.    On or about October 21, 2012, at approximately 1:30

 2   a.m., unidentified members of the VPD, including, on information
 3   and belief, Defendant Officer KENNEY, fatally shot JEREMIAH EUGENE
 4
     MOORE (Decedent) at MOORE’s house at 2504 Alameda Street in the
 5
     City of Vallejo, County of Solano, California.                   Defendant KENNEY
 6
     and possibly other VPD officers shot Decedent MOORE multiple
 7

 8   times.

 9         19.    Before arriving, the Defendant VPD officers had been

10   informed and knew that Decedent MOORE was suffering from
11   developmental disabilities including an Autism Spectrum Disorder,
12
     mental illness, and/or emotional disturbance.
13
           20.    Upon the VPD officers’ arrival, Decedent MOORE was
14
     walking naked in the vicinity of the front steps of his house.
15
     Decedent MOORE had no weapon in his hands and posed no significant
16

17   or immediate threat of death or serious bodily harm to Defendant

18   VPD officers or others at the time he was shot.

19         21.    One or more of Defendant VPD officers commanded Decedent
20   MOORE to get on the ground, while they pointed guns at MOORE.
21
     Decedent MOORE said something to the effect of “Okay, Okay, Okay.”
22
     Decedent MOORE suffered from an autism spectrum disorder which
23
     caused him to move his hands and arms when he was nervous.
24
     Decedent MOORE had not made any movement or gesture under the
25

26   circumstances that a reasonable officer would perceive as posing

27   an immediate threat to justify the use of deadly force.
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND                 6
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 8 of 28


 1         22.    Defendant VPD officers unlawfully seized and used

 2   excessive force against Decedent MOORE, including but not limited
 3   to firing multiple, deliberate gunshots at Decedent MOORE without
 4
     warning and without legal justification, causing great pain and
 5
     suffering to Decedent MOORE, and causing his death, as Decedent
 6
     MOORE moved his hands and arms due to his autism spectrum
 7

 8   disorder.

 9         23.    At all times, Decedent MOORE had nothing in his hands,

10   was naked, disabled, and emotionally/mentally disturbed, and he
11   did not pose a significant and immediate threat of death or
12
     serious physical injury to Defendants, officers, or others.
13
     Afterward, Defendant officers and the VPD falsely reported that
14
     JEREMIAH MOORE was threatening an officer with a long gun inside
15
     the house when he was shot while still inside the house.             In fact,
16

17   JEREMIAH MOORE was unarmed, naked, with nothing in his hands, and

18   was outside of his house when Defendant(s) shot him.

19         24.    At all material times, Defendants VPD officers knew
20   and/or had reason to know that Decedent MOORE was a disabled
21
     (Autistic), mentally ill, and/or emotionally disturbed person.
22
     Defendants failed to follow generally accepted law enforcement
23
     standards and training for safely handling Decedent as a disabled,
24
     mentally ill, and/or emotionally disturbed person.
25

26

27

28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND           7
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 9 of 28


 1         25.    Further, as a result of Defendants’ unreasonable,

 2   reckless, excessive, unlawful, and provocative tactics, Defendants
 3   created the situation where deadly force was used.
 4
           26.    At all material times, and alternatively, the actions
 5
     and omissions of each defendant were intentional, wanton and/or
 6
     willful, conscience shocking, reckless, malicious, deliberately
 7

 8   indifferent to Decedent’s and Plaintiffs’ rights, done with actual

 9   malice, grossly negligent, negligent, and objectively

10   unreasonable.
11         27.    As a direct and proximate result of each Defendant’s
12
     acts and/or omissions as set forth above, Plaintiffs sustained the
13
     following injuries and damages, past and future, among others:
14

15                a.     Wrongful death of Jeremiah Moore;
16                b.     Hospital and medical expenses (Survival claims);
17
                  c.     Coroner’s fees, funeral, and burial expenses
18                       (Survival claims);

19                d.     Loss of familial relationships, including loss of
                         love, companionship, comfort, affection,
20                       consortium, society, services, solace, and moral
                         support (All Plaintiffs, based on wrongful death
21                       and loss of familial association);
22
                  e.     Violation of constitutional rights;
23
                  f.     Pain and Suffering, including emotional distress
24                       (All Plaintiffs, based on individual §1983 claims
                         for loss of familial association);
25
                  g.     Jeremiah Moore’s loss of life, pursuant to federal
26                       civil rights law (Survival claims);
27

28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND       8
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 10 of 28


 1                h.     Jeremiah Moore’s conscious pain and suffering,
                         pursuant to federal civil rights law (Survival
 2                       claims);
 3                i.     All damages, penalties, and attorneys’ fees and
 4                       costs recoverable under 42 USC §§ 1983, 1988,
                         12205, 29 U.S.C. § 794a, the ADA, the RA,
 5                       California Civil Code §§ 51.7, 52, and 52.1,
                         California Code of Civil Procedure § 1021.5, and as
 6                       otherwise allowed under California and United
                         States statutes, codes, and common law.
 7

 8
                                    COUNT ONE
 9
                               -- 42 USC §1983 --
10           ALL PLAINTIFFS AGAINST DEFENDANTS KENNEY AND DOES 1-20

11         28.    Plaintiffs reallege each and every paragraph in this
12   complaint as if fully set forth here.
13
           29.    By the actions and omissions described above, Defendants
14
     KENNEY and DOES 1-20 violated 42 USC §1983, depriving Plaintiffs
15
     and Decedent MOORE of the following clearly established and well-
16
     settled constitutional rights protected by the First, Fourth and
17

18   Fourteenth Amendments to U.S. Constitution:

19                a. The right to be free from unreasonable searches and
                     seizures as secured by the Fourth and Fourteenth
20                   Amendments;
21                b. The right to be free from excessive and unreasonable
22                   force in the course of arrest or detention as secured
                     by the Fourth and Fourteenth Amendments;
23
                  c. The right to be free from the use of unlawful deadly
24                   force as secured by the Fourth and Fourteenth
                     Amendments;
25
                  d. The right to be free from wrongful government
26
                     interference with familial relationships, and
27                   Plaintiffs’ right to companionship, society and

28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND        9
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 11 of 28


 1                   support of each other, as secured by the First, Fourth
                     and Fourteenth Amendments.
 2
           30.    Defendants subjected Plaintiffs to their wrongful
 3
     conduct, depriving Plaintiffs of rights described herein,
 4

 5   knowingly, maliciously, and with conscious and reckless disregard

 6   for whether the rights and safety of Plaintiffs (individually and

 7   on behalf of Jeremiah Moore, Deceased) and others would be
 8
     violated by their acts and/or omissions.
 9
           31.    As a direct and proximate result of Defendants' acts
10
     and/or omissions as set forth above, Plaintiffs sustained injuries
11
     and damages as set forth at paragraph 27, above.                 Plaintiffs seek
12

13   all damages, penalties, costs, and fees permitted by law.

14         32.    The conduct of Defendants KENNEY and DOES 1-20 entitles

15   Plaintiffs to punitive damages and penalties allowable under 42
16   USC §1983 and California law.            Plaintiffs do not seek punitive
17
     damages against the City of Vallejo or Chief KREINS in his
18
     official capacity.
19
           33.    Plaintiffs are also entitled to reasonable costs and
20
     attorneys’ fees under 42 USC § 1988, the ADA and RA, and
21

22   applicable state and federal codes and laws.

23
                                  COUNT TWO
24         - 42 USC §1983 (Municipal and Supervisory Liability) –
     ALL PLAINTIFFS AGAINST DEFENDANTS CITY OF VALLEJO, CHIEF OF POLICE
25                      JOSEPH KREINS, AND DOES 1-20
26
           34.    Plaintiffs reallege each and every paragraph in this
27
     complaint as if fully set forth here.
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND               10
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 12 of 28


 1         35.    Before the shooting of JEREMIAH MOORE, on information

 2   and belief Defendant Officer KENNEY and other VPD officers had
 3   shot other individuals who did not pose an immediate threat of
 4
     death or serious injury to anyone; other victims of such shootings
 5
     were also disabled and/or mentally incapacitated at the time;
 6
     other such shootings were caused by VPD officers’ provocative and
 7

 8   unlawful conduct leading up to such shootings; such shootings were

 9   known to VPD policymakers including Defendant Chief of Police

10   KREINS; and it was apparent and known to such policymakers and the
11   VPD that such shootings were unlawful and outside of Defendant
12
     KENNEY’s and other VPD officers’ police academy training and
13
     generally accepted law enforcement standards.                    Notwithstanding
14
     such information, VPD policymakers and the VPD took no action to
15
     correct deficiencies in VPD training programs and VPD policies and
16

17   procedures that allowed and encouraged such unlawful uses of

18   deadly force, and specifically took no action to adequately

19   investigate, supervise, discipline, or train Defendant KENNEY and
20   other VPD officers.
21
           36.    The unconstitutional actions and/or omissions of
22
     Defendants KENNEY and DOES 1-20, and other officers employed by or
23
     acting on behalf of Defendant City of Vallejo, on information and
24
     belief, were pursuant to the following customs, policies,
25

26   practices, and/or procedures of the VPD, stated in the

27   alternative, which were directed, encouraged, allowed, and/or
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND                     11
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 13 of 28


 1   ratified by policy-making officials for City of Vallejo and the

 2   VPD:
 3          a.    To use or tolerate the use of excessive and/or
 4                unjustified force;

 5          b.    To use or tolerate the use of unlawful deadly force;

 6          c.    To fail to use appropriate and generally accepted law
                  enforcement policies, procedures, and training in
 7                handling mentally ill, emotionally disturbed and/or
                  medically or developmentally disabled persons;
 8

 9          d.    To fail to use appropriate and generally accepted law
                  enforcement policies, procedures, and training in
10                handling disabled persons;

11          e.    To fail to use appropriate and generally accepted law
                  enforcement policies, procedures, and training in
12                handling persons experiencing medical emergencies;
13          f.    To fail to accommodate persons with disabilities,
                  particularly Autism, mental illness, and/or emotional
14
                  disturbance;
15
            g.    To cover-up violations of constitutional rights by any
16                or all of the following:

17                i)           by failing to properly investigate and/or
                               evaluate complaints or incidents of excessive
18                             and unreasonable force, deadly force, unlawful
                               seizures, and/or handling of mentally ill,
19
                               developmentally disabled, or emotionally
20                             disturbed persons;

21                ii)          by ignoring and/or failing to properly and
                               adequately investigate and discipline
22                             unconstitutional or unlawful police activity;
                               and
23
                  iii)         by allowing, tolerating, and/or encouraging
24
                               police officers to: fail to file complete and
25                             accurate police reports; file false police
                               reports; make false statements; intimidate,
26                             bias and/or “coach” witnesses to give false
                               information and/or to attempt to bolster
27                             officers’ stories; and/or obstruct or
                               interfere with investigations of
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND        12
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 14 of 28


 1                             unconstitutional or unlawful police conduct,
                               by withholding and/or concealing material
 2                             information;
 3         h.     To allow, tolerate, and/or encourage a “code of silence”
                  among law enforcement officers and police department
 4
                  personnel, whereby an officer or member of the
 5                department does not provide adverse information against
                  a fellow officer or member of the department;
 6
           i.     To use or tolerate inadequate, deficient, and/or
 7                improper procedures for handling, investigating, and
                  reviewing complaints of officer misconduct; and
 8

 9         j.     To fail to have and enforce necessary, appropriate, and
                  lawful policies, procedures, and training programs to
10                prevent or correct the unconstitutional conduct,
                  customs, and procedures described in this Complaint and
11                in subparagraphs (a) through (i) above, with deliberate
                  indifference to the rights and safety of Plaintiffs and
12                the public, and in the face of an obvious need for such
                  policies, procedures, and training programs.
13

14         37.    Defendants City of Vallejo, CHIEF KREINS, and DOES 1-20

15   failed to properly hire, train, instruct, monitor, supervise,

16   evaluate, investigate, and discipline Defendants KENNEY and DOES
17   1-20, and other VPD personnel, with deliberate indifference to
18
     Plaintiffs’ constitutional rights, which were thereby violated as
19
     described above.
20
           38.    The unconstitutional actions and/or omissions of
21
     Defendants KENNEY and DOES 1-20, and other VPD personnel, as
22

23   described above, were approved, tolerated and/or ratified by

24   policy-making officers for the VPD.              Plaintiffs are informed and

25   believe, and thereupon allege, the details of this incident have
26   been revealed to the authorized policy makers within City of
27
     Vallejo and the VPD, and that such policy makers have direct
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND            13
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 15 of 28


 1   knowledge of the fact that the JEREMIAH MOORE shooting was not

 2   justified, but represented an unconstitutional use of
 3   unreasonable, excessive and deadly force.                Notwithstanding this
 4
     knowledge, the authorized policy makers within the City of Vallejo
 5
     and the VPD have approved of Defendants Officer KENNEY’s and DOES
 6
     1-20s’ shooting of JEREMIAH MOORE, and have made a deliberate
 7

 8   choice to endorse Defendants KENNEY and DOES 1-20s’ shooting of

 9   JEREMIAH MOORE and the basis for that shooting.                  By so doing, the

10   authorized policy makers within the City of Vallejo and the VPD
11   have shown affirmative agreement with the individual defendant
12
     officers’ actions, and have ratified the unconstitutional acts of
13
     the individual defendant officers.
14
           39.    The aforementioned customs, policies, practices, and
15
     procedures, the failures to properly and adequately hire, train,
16

17   instruct, monitor, supervise, evaluate, investigate, and

18   discipline, as well as the unconstitutional orders, approvals,

19   ratification and toleration of wrongful conduct of Defendants City
20   of Vallejo, Chief KREINS, Officer KENNEY, and DOES 1-20, were a
21
     moving force and/or a proximate cause of the deprivations of
22
     Plaintiffs’ clearly-established and well-settled constitutional
23
     rights in violation of 42 USC §1983, as more fully set forth in
24
     Paragraph 29, above.
25

26         40.    Defendants subjected Plaintiffs to their wrongful

27   conduct, depriving Plaintiffs of rights described herein,
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND                14
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 16 of 28


 1   knowingly, maliciously, and with conscious and reckless disregard

 2   for whether the rights and safety of Plaintiffs and others would
 3   be violated by their acts and/or omissions.
 4
           41.    As a direct and proximate result of the unconstitutional
 5
     actions, omissions, customs, policies, practices and procedures of
 6
     Defendants City of Vallejo, Chief KREINS, and DOES 1-20 as
 7

 8   described above, Plaintiffs sustained serious and permanent

 9   injuries and are entitled to damages, penalties, costs and

10   attorneys’ fees as set forth in paragraphs 30-33, above, and
11   punitive damages against Defendants KREINS and DOES 1-20 in their
12
     individual capacities.
13
                                  COUNT THREE
14    VIOLATION OF THE AMERICANS WITH DISABILITIES ACT (ADA)(TITLE II)
                          AND REHABILITATION ACT (RA)
15                     AGAINST DEFENDANT CITY OF VALLEJO
16
           42.    Plaintiffs reallege each and every paragraph in this
17
     complaint as if fully set forth here.
18
           43.    Congress enacted the Americans with Disabilities Act
19
     (“ADA”) upon a finding, among other things, that “society has
20

21   tended to isolate and segregate individuals with disabilities” and

22   that such forms of discrimination continue to be a “serious and

23   pervasive social problem.”           42 U.S.C. § 121019(a)(2).
24         44.    The ADA, 42 U.S.C. § 12182(b)(1)(A)(iii), provides in
25
     pertinent part that “[i]t shall be discriminatory to afford an
26
     individual or class of individuals, on the basis of a disability
27
     or disabilities of such individual or class, directly, or through
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND        15
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 17 of 28


 1   contractual licensing, or other arrangements, with a good,

 2   service, facility, privilege, advantage, or accommodation that is
 3   different or separate from that provided to other individuals.”
 4
           45.    Decedent was a “qualified individual” with a disability
 5
     and medical impairments that limited and/or substantially limited
 6
     his ability to care for himself and control his mental, medical or
 7

 8   physical health condition as defined under the ADA, 42 U.S.C. §

 9   12131(2), and Section 504 of the Rehabilitation Act (“RA”) of

10   1973, 29 U.S.C. § 794, 28 C.F.R. 42.540(k).
11         46.    Defendant City of Vallejo is a public entity whose
12
     services, programs, and/or activities are covered under and
13
     governed by the ADA and RA, and regulations promulgated under each
14
     of these laws.
15
           47.    Defendant is within the mandate of the RA that no person
16

17   with a disability may be “excluded from participation in, be

18   denied benefits of, or be subjected to discrimination under any

19   program or activity.”         29 U.S.C. § 794.
20         48.    Further, Plaintiffs are informed and believe and thereon
21
     allege that Defendant City of Vallejo receives federal financial
22
     assistance.
23
           49.    Under the ADA, the City of Vallejo is mandated to
24
     “develop an effective, integrated, comprehensive system for the
25

26   delivery of all services to persons with mental disabilities and

27   developmental disabilities . . .” and to ensure “that the personal
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND        16
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 18 of 28


 1   and civil rights” of persons who are receiving services under its

 2   aegis are protected.
 3         50.    Also under the ADA, the City of Vallejo is mandated not
 4
     to discriminate against any qualified individual “on the basis of
 5
     disability in the full and equal enjoyment of the goods, services,
 6
     facilities, privileges, advantages or accommodations of any place
 7

 8   of public accommodation.”          42 U.S.C. § 12182(a).         The ADA applies

 9   generally to police “services, programs, or activities.”                42

10   U.S.C. § 12132.       The ADA applies to arrests, other seizures, and
11   Defendants’ contacts with Decedent MOORE.
12
           51.    At all material times and as described herein, Decedent
13
     MOORE (1) was an individual with a disability; (2) was otherwise
14
     qualified to participate in or receive the benefit of a public
15
     entity’s services, programs or activities, including the City of
16

17   Vallejo’s police services, programs, or activities; (3) was either

18   excluded from participation in or denied the benefits of the City

19   of Vallejo’s services, programs or activities or was otherwise
20   discriminated against by the City of Vallejo; and (4) such
21
     exclusion, denial of benefits or discrimination was by reason of
22
     his disability.
23
           52.    As described herein, Defendants failed to reasonably
24
     accommodate Decedent’s disability in the course of contacting and
25

26   seizing him, causing him to suffer greater injury in the process

27   than other detainees or arrestees, including death.
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND               17
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 19 of 28


 1         53.    As a direct and proximate result of Defendants’

 2   violations of the ADA and RA, Plaintiffs sustained serious and
 3   permanent injuries and are entitled to damages, penalties, costs
 4
     and attorneys’ fees as set forth in paragraphs 30-33 above.
 5
                                     COUNT FOUR
 6                      -- VIOLATION OF CIVIL CODE §52.1 --
               ALL PLAINTIFFS AGAINST DEFENDANTS KENNEY, DOES 1-20,
 7                              AND CITY OF VALLEJO
 8
           54.    Plaintiffs reallege each and every paragraph in this
 9
     complaint as if fully set forth here.
10
           55.    By their acts, omissions, customs, and policies, each
11
     Defendant acting in concert/conspiracy, as described above,
12

13   interfered with, attempted to interfere with, and violated

14   Plaintiffs’ rights under California Civil Code §52.1, and the

15   following clearly-established rights under the United States
16   Constitution and the California Constitution:
17
                         a. The right to be free from unreasonable searches
18                          and seizures as secured by the Fourth and
                            Fourteenth Amendments;
19
                         b. The right to be free from excessive and
20                          unreasonable force in the course of arrest or
                            detention as secured by the Fourth and Fourteenth
21
                            Amendments;
22
                         c. The right to be free from the unreasonable use of
23                          deadly force as secured by the Fourth and
                            Fourteenth Amendments;
24
                         d. The right to be free from wrongful government
25                          interference with familial relationships, and
26                          Plaintiffs’ right to companionship and society
                            with each other, as secured by the First, Fourth
27                          and Fourteenth Amendments;

28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND        18
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 20 of 28


 1                       e. The right to be free from unlawful and
                            unreasonable seizure of one’s person, including
 2                          the right to be free from unreasonable or
                            excessive deadly force, as secured by the
 3                          California Constitution, Article 1, Section 13;
 4
                         f. The right to protection from bodily restraint,
 5                          harm, or personal insult, as secured by Cal.
                            Civil Code § 43.
 6

 7         56.    Separate from, and above and beyond, Defendants’
 8   attempted interference, interference with, and violation of
 9
     Plaintiffs’ rights, Defendants violated Plaintiffs’ rights by the
10
     following conduct constituting threats, intimidation, or coercion:
11
                     a. Threatening Jeremiah Moore with violence, including
12
                         pointing a gun, or guns, at him, in the absence of
13

14                       any threat presented by Mr. Moore, or any

15                       justification whatsoever;

16                   b. Using deliberately reckless and provocative tactics
17                       to apprehend Jeremiah Moore in violation of
18
                         generally accepted law enforcement training and
19
                         standards, and in violation of Jeremiah Moore’s
20
                         rights;
21

22                   c. Subjecting Jeremiah Moore to an unreasonable

23                       seizure before shooting him by use of Defendants’

24                       unreasonable and excessive tactics and force
25                       leading up to the shooting;
26

27

28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND        19
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 21 of 28


 1                   d. Threatening violence against Jeremiah Moore, with

 2                       the apparent ability to carry out such threats, in
 3                       violation of Civ. Code § 52.1(j);
 4
                     e. Causing Jeremiah Moore to be shot multiple times,
 5
                         without warning and without justification; and
 6
                     f. Alternatively, with each gunshot evaluated as a
 7

 8                       separate use of force under generally accepted law

 9                       enforcement standards, firing one or more gunshots

10                       that were unnecessary and unjustified;
11                   g. Violating Jeremiah Moore’s rights to be free from
12
                         unlawful seizures by both wrongful arrest and
13
                         excessive force.
14
           57.    Defendant CITY OF VALLEJO is vicariously liable for the
15
     violations of state law and tortuous conduct of its police
16

17   officers and individual named defendants under California

18   Government Code section 815.2.

19         58.    As a direct and proximate result of Defendants'
20   violation of California Civil Code §52.1 and of Plaintiffs’ rights
21
     under the United States and California Constitutions, Plaintiffs
22
     sustained injuries and damages, and against these Defendants are
23
     entitled to relief as set forth above at paragraphs 30-33
24
     including all damages allowed by California Civil Code §§ 52,
25

26   52.1, and California law, not limited to costs, attorneys fees,

27

28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND        20
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 22 of 28


 1   three times actual damages, and civil penalties, and punitive

 2   damages against Defendants KENNEY and Does 1-20.
 3                                     COUNT FIVE
 4                        -- NEGLIGENCE; PERSONAL INJURIES --
                         ALL PLAINTIFFS AGAINST ALL DEFENDANTS
 5
           59.    Plaintiffs reallege each and every paragraph in this
 6
     complaint as if fully set forth here.
 7
           60.    At all times, each Defendant owed Plaintiffs the duty to
 8

 9   act with due care in the execution and enforcement of any right,

10   law, or legal obligation.

11         61.    At all times, each Defendant owed Plaintiffs the duty to
12   act with reasonable care.
13
           62.    These general duties of reasonable care and due care
14
     owed to Plaintiffs by all Defendants include but are not limited
15
     to the following specific obligations:
16

17                a.     to refrain from using excessive and/or unreasonable
                         force against Jeremiah Moore;
18
                  b.     to refrain from unreasonably creating the situation
19                       where force, including but not limited to deadly
                         force, is used;
20
                  c.     to refrain from abusing their authority granted
21
                         them by law;
22
                  d.     to use tactics and force appropriate for a
23                       disabled, mentally ill and/or emotionally disturbed
                         person having a medical emergency;
24
                  e.     to refrain from violating Plaintiffs’ rights
25                       guaranteed by the United States and California
26                       Constitutions, as set forth above, and as otherwise
                         protected by law.
27

28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND        21
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 23 of 28


 1         63.    Additionally, these general duties of reasonable care

 2   and due care owed to Plaintiffs by Defendants City of Vallejo,
 3   Chief KREINS, and Does 1-20, include but are not limited to the
 4
     following specific obligations:
 5
                  a.     to properly and adequately hire, investigate,
 6                       train, supervise, monitor, evaluate, and discipline
                         their employees, agents, and/or law enforcement
 7                       officers to ensure that those
 8                       employees/agents/officers act at all times in the
                         public interest and in conformance with law;
 9
                  b.     to make, enforce, and at all times act in
10                       conformance with policies, training, and customs
                         that are lawful and protective of individual
11                       rights, including Plaintiffs’.
12
                  c.     to refrain from making, enforcing, and/or
13                       tolerating the wrongful policies, training, and
                         customs set forth at paragraph 36, above.
14
           64.    Defendants, through their acts and omissions, breached
15
     each and every one of the aforementioned duties owed to
16

17   Plaintiffs.

18         65.    Defendant CITY OF VALLEJO is vicariously liable for the

19   violations of state law and tortuous conduct of its police
20   officers and individual named defendants under California
21
     Government Code section 815.2.
22
           66.    As a direct and proximate result of Defendants'
23
     negligence, Plaintiffs sustained injuries and damages, and against
24
     each and every Defendant are entitled to relief as set forth above
25

26   at paragraphs 30-33, and punitive damages against Defendants Chief

27   KREINS, KENNEY, and DOES 1-20 in their individual capacities.
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND        22
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 24 of 28


 1                                   COUNT SIX
                             -- ASSAULT AND BATTERY --
 2             ALL PLAINTIFFS AGAINST DEFENDANTS KENNEY, DOES 1-20,
                                AND CITY OF VALLEJO
 3
           67.    Plaintiffs reallege each and every paragraph in this
 4

 5   complaint as if fully set forth here.

 6         68.    The actions and omissions of Defendants DOES 1–20 and

 7   City of Vallejo as set forth above constitute assault and battery.
 8
           69.    Defendant CITY OF VALLEJO is vicariously liable for the
 9
     violations of state law and tortuous conduct of its police
10
     officers and individual named defendants under California
11
     Government Code section 815.2.
12

13         70.    As a direct and proximate result of Defendants' assault

14   and battery of Jeremiah Moore, Plaintiffs sustained injuries and

15   damages, and are entitled to relief as set forth above at
16   paragraphs 30-33, and punitive damages against Defendants KENNEY
17
     and Does 1-20.
18
                                  COUNT SEVEN
19              -- VIOLATION OF CALIFORNIA CIVIL CODE §51.7 --
       ALL PLAINTIFFS AGAINST DEFENDANTS KENNEY, DOES 1-20 AND CITY OF
20                                  VALLEJO
21         71.    Plaintiffs reallege each and every paragraph in this
22   complaint as if fully set forth here.
23
           72.    By their acts, omissions, customs, and policies,
24
     Defendants KENNEY,        Does 1-20 and the City of Vallejo, acting in
25
     concert/conspiracy, as described above, violated Plaintiffs’
26
     rights secured by California Civil Code §51.7 to be free from any
27

28   violence, or intimidation by threat of violence, committed against

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND        23
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 25 of 28


 1   Jeremiah Moore, because of his disability and/or psychiatric

 2   condition.
 3         73.    Defendant CITY OF VALLEJO is vicariously liable for the
 4
     violations of state law and tortuous conduct of its police
 5
     officers and individual named defendants under California
 6
     Government Code section 815.2.
 7

 8         74.    As a direct and proximate result of Defendants'

 9   violation of California Civil Code §51.7, Plaintiffs sustained

10   injuries and damages, and are entitled to relief as set forth
11   above at paragraphs 30-33, and all damages allowed by California
12
     Civil Code §§52, 51.7, and California law, including but not
13
     limited to attorneys’ fees, costs, three times actual damages,
14
     civil penalties, and punitive damages against Defendants KENNEY
15
     and Does 1-20.
16

17         WHEREFORE, Plaintiffs respectfully request the following

18   relief against each and every Defendant herein, jointly and

19   severally:
20                a.     compensatory and exemplary damages in an amount
21                       according to proof and which is fair, just and
                         reasonable;
22
                  b.     punitive damages under 42 USC §1983 and California
23                       law in an amount according to proof and which is
                         fair, just, and reasonable (punitive damages are
24                       not sought against the City of Vallejo or Chief
                         KREINS in his official capacity);
25

26                c.     all other damages, penalties, costs, interest, and
                         attorneys’ fees as allowed by 42 USC §§ 1983, 1988,
27                       and 12205 and Title II of the ADA, 29 U.S.C. §§ 794
                         and 794a, Cal. Code of Civ. Proc. §§ 377.20 et
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND        24
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 26 of 28


 1                       seq., 377.60 et seq., and 1021.5, Cal. Civil Code
                         §§ 52 et seq., 52.1, 51.7, and as otherwise may be
 2                       allowed by California and/or federal law;
 3                d.     Injunctive relief, including but not limited to the
 4                       following:

 5                       i.    an order prohibiting Defendants and
                               their police officers from unlawfully
 6                             interfering with the rights of
                               Plaintiffs and others to be free from
 7                             unreasonable searches and seizures and
 8                             excessive and unreasonable force, in
                               particular the use of deadly force
 9                             where the need for such force was
                               created by Defendants’ unlawful and
10                             provocative pre-shooting conduct;
11                       ii.   an order requiring Defendants to
                               institute and enforce appropriate and
12
                               lawful policies and procedures for
13                             seizing and detaining individuals,
                               particularly persons with
14                             disabilities, Autism Spectrum
                               Disorders, persons experiencing a
15                             medical emergency, and mentally ill or
                               emotionally disturbed persons;
16

17                       iii. an order prohibiting Defendants and
                              their police officers from engaging in
18                            the “code of silence” as may be
                              supported by the evidence in this
19                            case;
20                       iv.   an order requiring Defendants to train
21                             all VPD law enforcement officers
                               concerning generally accepted and
22                             proper tactics and procedures for the
                               use of deadly force and this Court’s
23                             orders concerning the issues raised in
                               injunctive relief requests i-iii,
24                             above;
25
                         v.    an order requiring Defendants to train
26                             all VPD Officers concerning generally
                               accepted and proper tactics and
27                             procedures for handling disabled,
                               Autistic, mentally ill, and
28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND        25
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 27 of 28


 1                             emotionally disturbed persons, persons
                               having a medical emergency, and this
 2                             Court’s orders concerning the issues
                               raised in injunctive relief requests
 3                             i-iii, above;
 4
                  e.     such other and further relief as this Court may
 5                       deem appropriate.

 6

 7   DATED: April 29, 2014                HADDAD & SHERWIN
 8

 9                                    /s/Michael J. Haddad___________________
                                         MICHAEL J. HADDAD
10                                       Attorneys for Plaintiffs

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND        26
     Case 2:14-cv-00656-JAM-KJN Document 13 Filed 04/29/14 Page 28 of 28


 1                                        JURY DEMAND

 2         Plaintiffs hereby request a trial by jury.
 3

 4
     DATED: April 29, 2014                HADDAD & SHERWIN
 5

 6                                    /s/Michael J. Haddad__________________
                                         MICHAEL J. HADDAD
 7                                       Attorneys for Plaintiffs
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     2:14-cv-00656-JAM-KJN: FIRST AMENDED COMPLAINT AND JURY DEMAND        27
